    Case 2:23-cv-01124-DJP-MBN             Document 225        Filed 03/06/25      Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 CHERYL BECNEL, ET AL.                              *
                                                    *      CIVIL ACTION NO. 2-23-cv-1124
                                     Plaintiffs     *
                                                    *      SECTION: P (5)
 VERSUS                                             *
                                                    *      JUDGE DARREL JAMES
                                                           PAPILLION
 TAYLOR-SEIDENBACH, INC., ET AL.         *
                                         *    MAGISTRATE JUDGE MICHAEL
                           Defendants    *    NORTH
 ****************************************************************************

      EX PARTE MOTION FOR PARTIAL DISMISSAL WITHOUT PREJUDICE

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, Michael Kraemer,

who moves this Court to dismiss, without prejudice, Michael Kraemer’s claims as a plaintiff

against all defendants, with each party to bear their own costs.         The remaining plaintiffs

specifically reserves all rights to proceed against any remaining defendants, solidary obligors, or

third parties as well as all persons and/or entities named or not named herein.

       WHEREFORE, Plaintiff Michael Kraemer prays that all claims by Michael Kraemer

against defendants be dismissed, without prejudice, with each party to bear their own costs,

reserving unto remaining plaintiff all rights to proceed against any remaining defendants, solidary

obligors, or third parties as well as all persons and/or entities named or not named herein.

                                              Respectfully Submitted by:

                                              PHILIP C. HOFFMAN, LLC

                                              /s/ Dayal Reddy____________________
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                                              Dayal S. Reddy, LA Bar No. 31928
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Case 2:23-cv-01124-DJP-MBN           Document 225        Filed 03/06/25       Page 2 of 2




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                                         COUNSEL FOR PLAINTIFF

                            CERTIFICATE OF SERVICE
       I hereby certify that a copy of the above and foregoing has been served upon all
known counsel of record via electronic mail this the 6th day of March 2025.
                                                /s/ Dayal Reddy




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